        Case 3:14-cr-00282-SI       Document 96    Filed 10/19/17    Page 1 of 3



Celia Howes, OSB #033450
HOEVET OLSON HOWES, PC
1000 SW Broadway, Suite 1500
Portland, Oregon 97205
Telephone: (503) 228-0497
Facsimile: (503) 228-7112
Email: celia@hoevetlaw.com

      Of Attorneys for Defendant




                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA,

                 Plaintiff,                     Case No. 3:14-CR-00282-SI-2

       v.                                       UNOPPOSED MOTION FOR EARLY
                                                TERMINATION OF PROBATION
KYLE KEOKI YAMAGUCHI,

                 Defendant.



      Defendant, Kyle Keoki Yamaguchi, moves to terminate his probation pursuant to

18 U.S.C. § 3564(c):

              “Early Termination.— The court, after considering the factors set forth in
      section 3553(a) to the extent that they are applicable, may, pursuant to the
      provisions of the Federal Rules of Criminal Procedure relating to the modification
      of probation, terminate a term of probation previously ordered and discharge the
      defendant at any time in the case of a misdemeanor or an infraction or at any
      time after the expiration of one year of probation in the case of a felony, if it is
      satisfied that such action is warranted by the conduct of the defendant and the
      interest of justice.”

///

///



Page 1 – UNOPPOSED MOTION FOR EARLY TERMINATION OF                               HOEVET OLSON HOWES, PC
                                                                                    ATTORNEYS AT LAW
         PROBATION                                                             1000 S.W. BROADWAY, #1500
                                                                                PORTLAND, OREGON 97205
                                                                                     (503) 228-0497
             Case 3:14-cr-00282-SI   Document 96    Filed 10/19/17   Page 2 of 3




       On April 8, 2015, the Court entered a judgment of conviction and imposed a

sentence of five years of probation as a result of Mr. Yamaguchi’s guilty plea to one

count of Conspiracy to Transport, Receive, and Sell Stolen Goods (18 USC 371, 2314,

2315). Mr. Yamaguchi’s conditions of probation included compliance with the terms of

his civil settlement with Nike, Inc and complete 50 hours of community service.

       October 8, 2017 marked Mr. Yamaguchi’s halfway point, he has now served over

30 months of his five-year probationary period. He has complied with all of the special

and standard conditions of his probation, including compliance with his civil settlement

and volunteer service in his community. Mr. Yamaguchi moved to Hawaii in September

2015, and his supervision was thereafter transferred to the District of Hawaii. He

maintains a stable home in Maui with his wife and two children, ages 1 and 3. He has

been fully compliant with the terms of his probation, and has been on the administrative

caseload with the District of Hawaii for over one year.

       Mr. Yamaguchi runs an eyewear company with his wife. Business operations

require that they make international trips to source supplies and manufacturing

resources. His status on probation has resulted in Mr. Yamaguchi's temporary

detentions at airports upon reentry into the United States.

       The factors set forth in 18 U.S.C. § 3553(a)(1) and (a)(2)(B), (a)(2)(C) and (a)(4)

support an early termination of supervised release. Mr. Yamaguchi’s conduct while on

probation and the interest of justice warrant a termination of his supervised release at

this time.




Page 2 – UNOPPOSED MOTION FOR EARLY TERMINATION OF                               HOEVET OLSON HOWES, PC
                                                                                    ATTORNEYS AT LAW
         PROBATION                                                             1000 S.W. BROADWAY, #1500
                                                                                PORTLAND, OREGON 97205
                                                                                     (503) 228-0497
         Case 3:14-cr-00282-SI    Document 96      Filed 10/19/17   Page 3 of 3



      This motion is supported by the Declaration of Counsel filed simultaneously with

this motion. Neither the United States Probation Office, nor the United States Attorney’s

Office, through AUSA Ryan Bounds, objects to this motion.


      DATED this 19TH day of October, 2017.

                                        HOEVET OLSON HOWES, PC


                                          s/ Celia Howes
                                        Celia Howes, OSB #033450
                                        Of Attorneys for Defendant




Page 3 – UNOPPOSED MOTION FOR EARLY TERMINATION OF                             HOEVET OLSON HOWES, PC
                                                                                  ATTORNEYS AT LAW
         PROBATION                                                           1000 S.W. BROADWAY, #1500
                                                                              PORTLAND, OREGON 97205
                                                                                   (503) 228-0497
